     Case 1:16-cv-00271-RHB-RSK ECF No. 1 filed 03/15/16 PageID.1 Page 1 of 9



                               UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF MICHIGAN


EVAN PETROS, Individually,               :
                                         :
             Plaintiff,                  :
                                         :
v.                                       :                Case No. 1:16-cv-271
                                         :
PJS ENTERPRISES, INC.                    :
A Domestic Corporation                   :
                                         :
                                         :
             Defendant.                  :
_______________________________________/ :
                                         :

                                            COMPLAINT


          Plaintiff, Evan Petros (hereinafter “Plaintiff”), hereby sues the Defendant, PJS

Enterprises, Inc., a Domestic Corporation (hereinafter “Defendant”), for Injunctive Relief, and

attorney’s fees, litigation expenses, and costs pursuant to the Americans with Disabilities Act, 42

U.S.C. §12181 et seq. (“ADA”), and for damages pursuant to the Michigan Persons With

Disabilities Civil Rights Act (“PDCRA”), MCL 37.1101 et. seq. In support thereof, Plaintiff

states:

     1. This action is brought by Evan Petros, and all persons similarly situated, pursuant to the

enforcement provision of the Americans With Disabilities Act of 1990 (“ADA”), 42 U.S.C.

12188(a) and the Michigan Persons with Disabilities Civil Rights Act (“PDCRA”), MCL 37.1101

et. seq., against the owners and/or operators of the Subway.

2.        This Court has jurisdiction pursuant to the following statutes:
     Case 1:16-cv-00271-RHB-RSK ECF No. 1 filed 03/15/16 PageID.2 Page 2 of 9



                a.     28 U.S.C. §1331, which governs actions that arise from the Defendant’s

        violations of Title III of the Americans with Disabilities Act, 42 U.S.C. §12181 et seq. See

        also 28 U.S.C. §2201 and §2202.

                b.     28 U.S.C. §1331, which gives District Courts original jurisdiction over civil

        actions arising under the Constitution, laws or treaties of the United States; and

                c.     28 U.S.C. §1343 (3) and (4), which gives District Courts jurisdiction over

        actions to secure civil rights extended by the United States government.

3.      Venue is proper in this judicial district and division. Defendant does business in the State

of Michigan, and all of the acts of discrimination alleged herein occurred in this judicial district

and division.

                                             PARTIES

4.      Plaintiff Evan Petros is a resident of Macomb County, suffers from polio, uses a

wheelchair, and is an individual with a disability within the meaning of ADA, 42 U.S.C. 12102(2),

28 C.F.R. 36.104, and MCL 31.1103.

5.      Plaintiff Evan Petros is substantially limited in performing one or more major life activities,

including but not limited to, walking and standing.

6.      Plaintiff Evan Petros, on several occasions, has been to the Subway located 2004 M-139,

Benton Harbor, MI.

7.      Plaintiff Evan Petros was a patron at the Subway on July 2, 2015.

8.      The Subway is a place of public accommodation within the meaning of Title III of the

ADA, 42 U.S.C. 12181, 28 C.F.R. 36.104, and MCL 37.1301.

9.      Defendant owns, leases, leases to, or operates Subway and is responsible for complying

with the obligations of the ADA and the PDCRA.
                                                  2
   Case 1:16-cv-00271-RHB-RSK ECF No. 1 filed 03/15/16 PageID.3 Page 3 of 9



                                              COUNT I

                                   VIOLATION OF THE ADA

10.     Plaintiff realleges paragraphs one (1) through eleven (9) of this Complaint and

incorporates them here as if set forth in full.

11.     Plaintiff is a frequent visitor to Benton Harbor for vacations and birthday events, has

visited the property which forms the basis of this lawsuit, and has plans to return to the property

in July 2016 to avail herself of the goods and services offered to the public at the property.

12.     There are numerous architectural barriers present at Subway that prevent and/or restrict

access by Plaintiff, in that several features, elements, and spaces of the plaza at Subway are not

accessible to or usable by Plaintiff, as specified in 28 C.F.R 36.406 and the Standards for

Accessible Design, 28 C.F.R., Pt. 36, Appendix A (‘the Standards”).

13.     Elements and spaces to which there are barriers to access at Subway include, but are not

necessarily limited to:

        a.      There is inadequate latch side clearance at the entrance door for an individual in a

wheelchair to utilize.

        b.      The entrance door closes too fast for an individual in a wheelchair to utilize such.

        c.      The door leading to the public restroom weighs too much for an individual in a

wheelchair to utilize such.

        d.      The door leading to the public restroom closes too fast for an individual in a

wheelchair to utilize such.

        e.      The sink is too low for an individual in a wheelchair to utilize such.

        f.      The paper towel dispenser in the public restroom is too high for an individual in a

wheelchair to utilize such.
                                                  3
   Case 1:16-cv-00271-RHB-RSK ECF No. 1 filed 03/15/16 PageID.4 Page 4 of 9



        g.      The flush valve on the toilet in the public restroom is located on the wrong side of

the toilet, thus making an individual in a wheelchair to reach across their own wastes in order to

utilize such.

        h.      The rear grab bar is too short for an individual in a wheelchair to utilize.

        i.      The side grab bar is too short for an individual in a wheelchair to utilize.

        j.      The toilet sits too low to the floor for an individual in a wheelchair to utilize such.

        k.      There is no accessible parking for an individual in a wheelchair to utilize.

        l.      There are no accessible ramps leading to the building for an individual in a

wheelchair to utilize.

14.     The discriminatory violations described in paragraph 13 of this Complaint were

personally encountered by Plaintiff. The Plaintiff has been denied access to, and has been denied

the benefits of, services, programs and activities of the Defendants’ buildings and facilities, and

have otherwise been discriminated against and damaged by the Defendants because of the

Defendants’ ADA violations, as set forth above.

15.     The Plaintiff will continue to suffer such discrimination, injury and damage without the

immediate relief provided by the ADA as requested herein. The Plaintiff has been denied access

to, and has been denied the benefits of services, programs and activities of the Defendants’

buildings and its facilities, the opportunity to use such elements, and have otherwise been

discriminated against and damaged by the Defendants because of the Defendants’ ADA

violations, as set forth above.

16.     Plaintiff has standing to sue for every barrier to access for the mobility-impaired that

exists on the subject premises. Evan Petros has standing to require that all barriers to access on


                                                   4
   Case 1:16-cv-00271-RHB-RSK ECF No. 1 filed 03/15/16 PageID.5 Page 5 of 9



the property for the mobility-impaired are corrected, not merely only those Evan Petros

personally encountered.

17.    Defendants' failure to remove the architectural barriers identified in paragraph thirteen

(13) constitutes a pattern or practice of discrimination within the meaning of 42 U.S.C. 12188

(b)(1)(B)(i) and 28 C.F.R. 36.503 (a).

18.    It would be readily achievable for the Defendant to remove the architectural barriers

identified above.

19.    Defendant is required to remove the existing architectural barriers to the physically

disabled when such removal is readily achievable for its place of public accommodation that

have existed prior to January 26, 1992, 28 CFR 36.304(a); in the alternative, if there has been an

alteration to Defendant’s place of public accommodation since January 26, 1992, then the

Defendant is required to ensure to the maximum extent feasible, that the altered portions of the

facility are readily accessible to and useable by individuals with disabilities, including

individuals who use wheelchairs, 28 CFR 36.402; and finally, if the Defendant’s facility is one

which was designed and constructed for first occupancy subsequent to January 26, 1993, as

defined in 28 CFR 36.401, then the Defendant’s facility must be readily accessible to and

useable by individuals with disabilities as defined by the ADA.

20.    The Defendant has discriminated against Plaintiff by denying her access to, and full and

equal enjoyment of, the goods, services, facilities, privileges, advantages and/or accommodations

of the buildings, as prohibited by 42 U.S.C. § 12182 et seq. and 28 CFR 36.302 et seq

21.    Defendant continues to discriminate against the Plaintiff, and all those similarly situated,

by failing to make reasonable modifications in policies, practices or procedures, when such


                                                  5
   Case 1:16-cv-00271-RHB-RSK ECF No. 1 filed 03/15/16 PageID.6 Page 6 of 9



modifications are necessary to afford all offered goods, services, facilities, privileges, advantages

or accommodations to individuals with disabilities.

22.    Evan Petros has a realistic, credible, existing and continuing threat of discrimination from

the Defendants’ non-compliance with the ADA with respect to this property as described, but not

necessarily limited to, the allegations in paragraph 13 of this Complaint. Plaintiff has reasonable

grounds to believe that she will continue to be subjected to discrimination in violations of the

ADA by the Defendants.

23.    Plaintiff is aware that it will be a futile gesture to re-visit the property until it becomes

compliant with the ADA, unless she is willing to suffer further discrimination.

24.    Plaintiff is without an adequate remedy at law and is suffering irreparable harm. Plaintiff

has retained the undersigned counsel and is entitled to recover attorney’s fees, costs and

litigation expenses from the Defendant pursuant to 42 U.S.C. § 12205 and 28 CFR 36.505.

25.    Notice to Defendant is not required as a result of the Defendant’s failure to cure the

violations by January 26, 1992 (or January 26, 1993, if Defendant has 10 or fewer employees

and gross receipts of $500,000 or less). All other conditions precedent have been met by

Plaintiffs or waived by the Defendant.

26.    Pursuant to 42 U.S.C. § 12188, this Court is provided with authority to grant Plaintiff

Injunctive Relief, including an order to require the Defendant to make the property readily

accessible and useable to the Plaintiff and all other persons with disabilities as defined by the

ADA; or by closing the facility until such time as the Defendant cures its violations of the ADA.




                                                  6
   Case 1:16-cv-00271-RHB-RSK ECF No. 1 filed 03/15/16 PageID.7 Page 7 of 9




                                             COUNT II

                                 VIOLATION OF THE PDCRA

27.     Plaintiff realleges paragraphs one (1) through twenty-six (26) of this Complaint and

incorporates them here as if set forth in full.

28.     The Defendant has discriminated against Plaintiff by denying her the full and equal

enjoyment of the goods, services, facilities, privileges, advantages, and accommodations of a

place of public accommodation because of a disability, as prohibited by MCL 37.1302.

29.     Plaintiff has desired and attempted to enjoy the goods and services at Subway as a patron.

She has been prevented from doing so due to the existing architectural barriers at the property.

As a result, she has been distressed and inconvenienced thereby, and is entitled to monetary

damages for her injuries, as provided for in MCL 37.1606.

30.     As a result of being denied full access to the property, Plaintiff has suffered, and will

continue to suffer, emotional distress, humiliation, anxiety, anger, a loss of enjoyment of life, and

other consequential and incidental damages.

                                      PRAYER FOR RELIEF

32.     Because Defendant has engaged in the acts and practices described above, Defendant has

violated the law as alleged in this Complaint and unless restrained by this Honorable Court,

Defendant will continue to violate the Constitution and laws of the United States of America, and

the State of Michigan, and will cause injury, loss and damage to the Plaintiff, and all others so

similarly situated.




                                                  7
   Case 1:16-cv-00271-RHB-RSK ECF No. 1 filed 03/15/16 PageID.8 Page 8 of 9



WHEREFORE, Plaintiff respectfully requests that this Court:

       A.     Declare that Defendant has violated title III of the Americans with Disabilities

Act, 42 U.S.C. § 12181 et seq, 28 C.F.R. pt. 36, and the Michigan Persons With Disabilities

Civil Rights Act (“PDCRA”), MCL 37.1101 et. seq.

              i.      by failing to bring Subway into compliance with the Standards where it is

              readily achievable to do so; and

              ii.     by failing to take other readily achievable measures to remove

              architectural barriers to access when it is not readily achievable to comply fully

              with the Standards.

       B.     Order Defendant:

              i.      to make all readily achievable alterations to the facility; or to make such

              facility readily accessible to and usable by individuals with disabilities to the extent

              required by the ADA;

              ii.     to make reasonable modifications in policies, practices or procedures, when

              such modifications are necessary to afford all offered goods, services, facilities,

              privileges, advantages or accommodations to individuals with disabilities.




                                                 8
  Case 1:16-cv-00271-RHB-RSK ECF No. 1 filed 03/15/16 PageID.9 Page 9 of 9



       C.     Award damages to Evan Petros who has been aggrieved and injured by the illegal

acts of discrimination committed by Defendant;

       D.     Award attorney’s fees, costs and litigation expenses pursuant to 42 U.S.C.

§ 12205 and MCL 37.1606.

       E.     Order such other appropriate relief as the interests of justice may require.

                                             Respectfully Submitted,



                                             By: /s/ Pete M. Monismith_________
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